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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

COCOON INNOVATIONS, LLC,
                                                    Case No. 18-cv-08290
               Plaintiff,
                                                    Judge Sharon Johnson Coleman
v.
                                                    Magistrate Judge M. David Weisman
DONGGUAN JIAWEI SPORTING GOODS
CO., LTD., et al.,

               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on March 12, 2019 [41], in

favor of Plaintiff Cocoon Innovations, LLC (“Cocoon” or “Plaintiff”) and against the Defendants

Identified in Schedule A in the amount of one hundred thousand dollars ($100,000) per

Defaulting Defendant for willful use of counterfeit COCOON Trademarks in connection with the

offer for sale and/or sale of products through at least the Defendant Internet Stores, and Cocoon

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

              Defendant Name                                         Line No.
                   Pesine                                               16

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 27th day of June 2019.    Respectfully submitted,


                                     /s/RiKaleigh C. Johnson
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                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
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